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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE

 KRISTINE THAYER,                                     )
                                                      )
        Plaintiff,                                    )
                                                      )
 v.                                                   ) Civil No. 9-19-B-K
                                                      )
 EASTERN MAINE MEDICAL CENTER,                        )
 et al.,                                              )
         Defendants                                   )

                                     ORDER ON MOTIONS

        Trial in this matter is scheduled to commence on July 12, 2010. I now have before me

 four pretrial motions requiring preliminary ruling. These motions include: (1) Plaintiff Thayer’s

 motion in limine regarding the admissibility of evidence concerning other physicians (Doc. No.

 93); (2) Defendants’ joint motion to bifurcate for trial the libel claim against Tabbah and the

 retaliation claim against Eastern Maine Medical Center (Doc. No. 94); (3) Defendants’ motion

 in limine to exclude evidence of alleged defamatory statements not alleged in plaintiff’s

 amended complaint (Doc. No. 95); and (4) Defendants’ motion in limine to exclude professional

 competence review records (Doc. No. 99). I now enter the following orders on these motions:

                         Defendants' Motion to Bifurcate (Doc. No. 94)

        The question of whether to bifurcate claims is guided by several factors:

        (1) whether a separation of the issues for trial will expedite disposition of the
        action; (2) whether such separation will conserve trial time and other judicial
        resources; (3) whether such separation will be likely to avoid prejudice to any
        party at trial that may occur in the absence of separation; and (4) whether the
        issues are essentially independent of each other so that there will be no need to
        duplicate the presentation of significant areas of the evidence in the separated
        proceedings.

 Thorndike v, Daimler Chrysler Corp., 220 F.R.D. 6, 7-8 (D. Me. 2004). None of these factors

 weighs in favor of bifurcation in this instance. In this case the factual overlap between the claim
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 against Dr. Tabbah and Eastern Maine Medical Center is extensive. Dr. Thayer contends that

 Dr. Mark Brown brought Eastern Maine’s disciplinary action against her in large measure

 because of the underlying animosity between her and Tabbah. A jury would necessarily need to

 consider the evidence of that relationship, including the alleged incidents of libel, in order to

 properly assess the whistleblower claim. I do not see how either defendant is unfairly prejudiced

 by having the claims jointly tried. The jury can easily understand that Dr. Tabbah was not Dr.

 Thayer’s employer and that she has no whistleblower retaliation claim against him. Likewise, a

 jury can easily understand that it is Dr. Tabbah, not Eastern Maine Medical Center, who is

 responsible for libelous statements, if it finds that any were made. There is nothing prejudicial in

 the joinder of these claims.

         The more troubling issue, and the one which the plaintiff never addresses, is whether the

 two claims are properly joined under Rule 20(a)(2)(A) of the Federal Rules of Civil Procedure.

 According to Rule 20, persons may be joined in one action if any right to relief is asserted

 against them jointly, severally, or in the alternative, arising out of the same series of transactions,

 and there are questions of law or fact common to all defendants. Defendants claim that there is

 no right to relief asserted against them jointly, severally, or in the alternative, and thus plaintiff

 does not satisfy the requirement of Rule 20. They also claim there are no questions of law or fact

 common to all defendants, but I am satisfied that there is considerable factual overlap, relating

 primarily to the motivation for commencement of the disciplinary review. Dr. Thayer’s theory is

 that Dr. Brown commenced the review because Dr. Thayer complained about Dr. Tabbah’s

 conduct, including some of the defamatory statements he allegedly made about her. For

 example, Dr. Brown agreed during his deposition that it is inappropriate for a doctor




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 to tell a patient’s mother that her child was not sewn back together correctly because of another

 doctor’s error. Dr. Thayer alleges she informed Dr. Brown that Dr. Tabbah had been making

 exactly this type of allegedly defamatory statement to the mother of one of her patients. Dr.

 Brown did not investigate the incident, nor did he initiate an Ad Hoc Committee investigation

 involving Dr. Tabbah. This example is but one demonstration of the interrelated nature of the

 defamation claim with the claim that Dr. Brown retaliated against Dr. Thayer because she

 complained about Dr. Tabbah.

         While Dr. Tabbah and Eastern Maine Medical Center are not alleged to be joint

 tortfeasors, Dr. Thayer is alleging that Dr. Tabbah and Eastern Maine Medical Center are liable

 for some portion of the loss she suffered in connection with this series of transactions. She

 therefore has met the first prong of the test as she is claiming a right to relief in the alternative.

 See Formosa Plastic Corp. U.S.A. v. ACE Am. Ins. Co., 259 F.R.D. 95, 101 (D. N.J. 2009).

 Furthermore, as indicated above, at least one common issue of fact exists surrounding these

 events and thus the second prong is satisfied as well. The motion to bifurcate is denied.

               Defendants' Motion in Limine to Exclude Defamatory Statements
                         Not Alleged in the Complaint (Doc. No. 95)

         This motion is granted in part and denied in part. As Dr. Thayer indirectly concedes,

 under Maine law the only statements that are actionable are the specific statements alleged in the

 complaint and Dr. Thayer’s right to direct recovery is limited to those statements. (See Pl.’s

 Dismissal of Mot. to Amend, Doc. No. 109). The statements made by Dr. Tabbah to the Ad Hoc

 Committee were not alleged in the complaint and cannot be the basis for direct recovery in a

 defamation action. Furthermore, even if Dr. Thayer had alleged those statements in her

 complaint or pressed her motion to amend the complaint to include them, in all probability Dr.

 Thayer could not have based her direct recovery claims on those statements. See Landsberg v.

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 Me. Coast Regional Health Facilities, No. 08-cv-59-B-W, 2009 WL 995171, *10, 2009 U.S.

 Dist. Lexis 37390, *27-30 (D. Me. Apr. 10, 2009) (Recommended Decision, Kravchuk, M.J.)

 (noting that the immunity from suit provisions apply to physicians whether they are alleged to

 have acted with or without malice based upon statutory construction), rejected on other grounds,

 640 F. Supp. 2d 108 (D. Me. 2009) (Woodcock, C.J.). However, the confidentiality and

 immunity provisions of the Maine Health Security Act, 24 M.R.S.A. §§ 2510, 2511, are not

 without limitation. As Chief Judge Woodcock noted when affirming the recommended decision

 in part, a ruling regarding the right to direct recovery on these types of statements does not

 necessarily equate with a ruling on the admissibility of the statements. Landsberg v. Me. Coast

 Regional Health Facilities, 604 F. Supp. 2d 108, 112 n.3 (D. Me. 2009). I will discuss the

 potential admissibility of these statements in connection with the defendants’ motion in limine

 pertaining to Count I. However, I am not persuaded that Dr. Thayer can offer the statements as

 evidence of Dr. Tabbah’s “malice” in support of her defamation claim because that would be

 nothing more than an indirect attempt to negate the immunity from suit provided by the statute.

 If Dr. Tabbah’s statements made in the context of the professional review records are admissible

 on the whistleblower’s retaliation claim, then he is entitled to a limiting instruction that they are

 offered to explain the circumstances underlying the claim of retaliation and not as proof of the

 elements of the defamation claim.

                     Defendants’ Motion in Limine on Count I (Doc. No. 99)

        This motion is limine contains three components. Eastern Maine Medical Center seeks to

 exclude the following professional competence review records and testimony resting on those

 records: (1) Dr. Thayer’s own records; (2) Dr. Tabbah’s records; and (3) records relating to

 other practitioners at EMMC. Because the reasons for objecting to the use of these records vary



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 greatly, I will discuss them separately. However, both sides agree that 24 M.R.S. § 2510-A,

 which broadly prohibits admitting in evidence in any civil action “all professional competence

 review records,” is relevant to this dispute. Dr. Thayer maintains that she falls within the

 exception set forth in § 2510-A(2), which provides that when a physician contests an adverse

 professional competence review action against that physician the confidentiality provisions do

 not apply.

          1.   Dr. Thayer’s own records

          EMMC argues that Dr. Thayer does not fall within the exception because the Corrective

 Action Plan of October 24, 2007, did not result in an adverse professional competence review

 action against Dr. Thayer. Based upon Judge Hornby’s ruling on the motion for summary

 judgment and the plain meaning of the statutory language in both the Maine Health Security Act

 and the MWPA1, EMMC’s Executive Committee imposed restrictions on Dr. Thayer’s ability to

 remain on the medical staff by requiring her to submit to heightened supervision, anger

 management counseling, and increased risk of future discipline if she engaged in what she

 regarded as further whistleblowing activities involving other physicians. Apparently EMMC

 takes the position that because the restrictions imposed by the Corrective Action Plan were not

 necessarily reportable to a national data bank they cannot be challenged by Dr. Thayer in this

 proceeding. The Maine statute does not provide any such limitation. The motion in limine is

 denied as to Dr. Thayer’s own records and testimony resting on those records.2




 1
        That statute, 26 M.R.S. § 833(1)(E), specifically references 24 M.R.S. § 2502, the Health Security Act, as
 coming within the protection of the Whistleblowers' Protection Act.
 2
         The parties are cautioned that to the extent written records or testimony is offered, appropriate redactions
 should be made to insure patient confidentiality and exclusion of otherwise extraneous materials.

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        2.   Dr. Tabbah’s records

        Thayer does not “strenuously” object to the exclusion of Dr. Tabbah’s records, provided

 it is a two-way street and the defendants’ are prevented from introducing Dr. Bancroft’s letter

 which would apparently be found in Dr. Tabbah’s records. (I am a little unclear how this would

 play out, because it appears to me that Dr. Thayer will want to question Dr. Mark Brown about

 the procedure he followed when she complained about Dr. Tabbah’s conduct in the four cases in

 dispute. Certainly nothing in this ruling would prevent her from questioning Dr. Brown about

 the absence of corrective action being taken against Dr. Tabbah.) At this juncture, I will grant

 this portion of the motion in limine, in part, and exclude Dr. Tabbah’s written records. However,

 the parties should bear in mind that this ruling is tentative only and it could well develop that

 evidence surrounding the Bancroft letter will become admissible. If it does become admissible,

 it might also open up further evidence from Dr. Thayer regarding other physician’s experiences

 with Dr. Tabbah. I specifically reject the defendants’ argument that evidence concerning Dr.

 Tabbah’s “treatment” by Dr. Mark Brown is not admissible because he was not similarly situated

 to Dr. Thayer. The theory of this case is that Dr. Mark Brown was willing to overlook Dr.

 Tabbah’s allegedly poor communications and other inappropriate actions while seeking to

 discipline Dr. Thayer for objecting to certain of Dr. Tabbah’s behaviors. It is actually Dr.

 Thayer’s point that they were not treated similarly and that she was branded as the disruptive one

 precisely because she complained about Dr. Tabbah. I am not at all sure that evidence of a lack

 of disciplinary records within Dr. Tabbah’s file has anything to with the Health Security Act's

 confidentiality provisions or that such evidence would necessarily lead to the admission of the

 Bancroft letter.




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         3.     Professional Competence Review Records Involving Other Physicians

         Dr. Thayer has indicated that she intends to offer the testimony of two other physicians

 only and thus this portion of the motion does not apply to four practitioners as the defendants

 indicate in their motion. I will discuss those two physicians in the context of Thayer’s motion in

 limine. It appears likely that it would be EMMC that would seek to introduce the actual

 professional competence records of these two physicians if they should testify. In any event, I

 intend to defer ruling upon the admissibility of any such records or testimony based upon the

 records. Their records would become relevant only if they were allowed to testify regarding

 their cases.

                  Plaintiff’s Motion in Limine Seeking Admission of Testimony By
                    Other Physicians Alleging Retaliatory Conduct (Doc. No. 93)

         Dr. Thayer wishes to use testimony from two other female physicians who both left

 employment at Eastern Maine Medical Center and who both complained of various forms of

 discrimination in the process that lead to their terminations. Unlike Dr. Thayer, who was not

 actually terminated by the hospital, one of these physicians was terminated because of

 complaints that her interactions with other employees were unacceptable and the other one was

 terminated allegedly because of quality of care issues involving patients. The parties agree that,

 legally, evidence of other seemingly unconnected acts of discrimination may be admissible if the

 trial court finds them to be relevant and not unfairly prejudicial or unduly likely to cause delay or

 waste of time. In other words, the trial judge is guided by Rule 401 and Rule 403 of the Federal

 Rules of Evidence. I will consider each physician separately.

         1. Dr. G

         Dr. G. was terminated after an internal and external peer review of 15 of her charts

 resulted in suspension of privileges because of quality of care issues. She sued the hospital and

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 Dr. Thayer submitted a copy of the court complaint in support of her motion. Dr. G. maintained

 that the suspension was motivated by her gender and by the greed of competing medical

 practices. It is true that Dr. G. alleges that the complaints against her arose after she expressed a

 patient safety concern relating to another female surgeon who she felt was attempting a

 procedure she was unqualified to attempt. However, the major focus of Dr. G’s lawsuit was that

 the hospital had unfairly suspended her privileges based upon alleged safety concerns primarily

 because other surgeons’ practices united against her for economic reasons and because she was a

 woman. While Dr. G’s allegations may have some limited relevance in terms of using the

 disciplinary process as a retaliatory measure for complaints about other physicians, the fact is

 that Rule 403 virtually mandates the exclusion of this sort of evidence. The alleged retaliatory

 aspect of Dr. G’s termination only has probative value if the Hospital’s concerns about patient

 safety were ill-founded. Dr. G’s lawsuit was not tried to termination and there was neither a

 finding that Dr. G. was wrongfully terminated nor an admission of the same. Thus, in order for

 the evidence of her termination to have any probative value to this case, the jury would have to

 hear the entire evidence about why Dr. G’s privileges were suspended and then determine that

 they should not have been suspended and that the entire inquiry had been undertaken in

 retaliation for her complaint about the other surgeon. The unfair prejudice, confusion of issues

 and the risk of misleading the jury substantially outweigh any marginal probative value that Dr.

 G’s termination might have and the testimony is excluded.

        2. Dr. S

        Dr. S.’s case is also substantially dissimilar from Dr. Thayer’s. Dr. S. had never

 complained at all about patient safety issues regarding another physician. Instead, Dr. S. was

 terminated because of her allegedly poor interpersonal relations with other staff members. Dr. S.



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 was terminated without any Ad Hoc Committee process or any process at all and she alleged that

 the interpersonal relations claim was merely a pretext for gender, age and/or disability

 discrimination. Dr. S. had herself requested a reasonable accommodation based upon a serious

 health condition, giving her disability discrimination claim some vigor. The one similarity

 between Dr. S. and Dr. Thayer, and it is not an insignificant one, arises from the notion that the

 Hospital had a pattern of disciplining (or terminating) female physicians under the pretext of

 “disruptive physicians” or “bad interpersonal relationships” when the true motive was

 discriminatory, whether based upon disability or whistleblowing. Unlike with Dr. G., the parties

 would not need to try Dr. S’s entire disability discrimination case. The Hospital agrees that it

 terminated Dr. S. because of poor interpersonal relationships and thus the testimony could be

 limited to the actual reason given for the discharge. While it would still be a considerable

 diversion, a jury could more easily determine whether the stated reason for termination was

 sound than if they were confronted with Dr. G.’s case and had to determine if indeed there

 actually were quality of care issues involved in the termination. In this respect, Dr. S’s case is

 more like Dr. Thayer’s. Nevertheless, I conclude that the probative value is minimal.

        The complaints against Dr. Thayer for the most part did not come from alleged or

 unsubstantiated oral complaints by other EMMC employees. Dr. Mark Brown primarily

 orchestrated the case against Dr. Thayer, using events that unquestionably occurred and are not

 denied by Dr. Thayer. The jury can determine whether Dr. Brown was motivated by retaliatory

 animus because Dr. Thayer had complained about Dr. Tabbah and directed patients be sent to

 Maine Medical Center or whether his actions were taken because she was a “disruptive”

 physician requiring corrective action. It would needlessly confuse the record and the issues to




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 have the jury wrestling with the merits of either the Dr. G. or the Dr. S case. Plaintiff’s motion

 in limine seeking leave to use this evidence is denied.


                                            CONCLUSION

        Defendants' Motion to Bifurcate (Doc. No. 94) is DENIED.

         Defendants' Motion in Limine to Exclude Defamatory Statements (Doc. No. 95) is
 DENIED in part, although any statements not alleged in the complaint cannot be used to
 establish the elements of Thayer’s defamation claim.

        Defendants' Motion in Limine on Count I (Doc. No. 99) is DENIED as to Dr. Thayer's
 own records and related testimony; GRANTED in relation to Dr. Tabbah's records, subject to
 developments at trial; and DEFERRED as to records of other physicians.

        Plaintiff’s Motion in Limine Seeking Admission of Testimony By Other Physicians
 Alleging Retaliatory Conduct (Doc. No. 93) is DENIED as to both Dr. G and Dr. S.


 So Ordered.

 June 9, 2010                          /s/ Margaret J. Kravchuk
                                       U.S. Magistrate Judge




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